                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                     2021-NCCOA-405

                                      No. COA20-362

                                    Filed 3 August 2021

     Rowan County, No. 16 CRS 052274-75, 19 CRS 1637

     STATE OF NORTH CAROLINA

                 v.

     DAVID MYRON DOVER, Defendant.


           Appeal by Defendant from judgments entered 19 September 2019 by Judge

     Richard S. Gottlieb in Rowan County Superior Court. Heard in the Court of Appeals

     9 February 2021.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General K. D.
           Sturgis, for the State.

           Marilyn G. Ozer for defendant-appellant.


           MURPHY, Judge.


¶1         When the State presents evidence that raises a strong suspicion of a

     defendant’s guilt, but does not remove the case from the realm of surmise and

     conjecture, the trial court errs in denying the defendant’s motion to dismiss for

     insufficiency of the evidence. Here, the circumstantial evidence presented at trial

     showed Defendant had an opportunity to commit the crime charged, but there was

     not evidence, even when viewed in the light most favorable to the State, that a
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     reasonable mind could accept to support the conclusion that Defendant robbed and

     murdered the victim.

                                       BACKGROUND

¶2          On 16 May 2016, Defendant David Myron Dover was indicted on one count of

     robbery with a dangerous weapon, one count of first-degree murder, and having

     attained the status of habitual felon. A jury was impaneled for Defendant’s trial on

     9 September 2019. The evidence at trial tended to show the following:

¶3          On the morning of 10 May 2016, Arthur “Buddy” Davis (“Mr. Davis”) was

     scheduled to meet one of his daughters, April Anderson, at 7:00 a.m. to give her an

     unknown sum of money. When he did not show up, Anderson called Mr. Davis’s place

     of employment, Terry’s Auto Sales, and asked to “speak to Buddy[.]” Anderson was

     told Mr. Davis was not at work.

¶4          Anderson then called her sister, Charlotte Davis (“Davis”), who directed her

     husband, Waylon Barber, to go to Mr. Davis’s mobile home in Kannapolis to check on

     him.   Contemporaneously, the owner of Terry’s Auto Sales, Terry Bunn, was

     concerned about Mr. Davis not showing up at work and decided to go to Mr. Davis’s

     mobile home to check on him. Bunn arrived at the mobile home before Barber and,

     after knocking on the door and receiving no answer, “slid [a screwdriver] in behind

     the door . . . [and] jimmied the door open.” Bunn entered the home, called Mr. Davis’s

     name, and observed “something [that] had a real brown look to it” in the kitchen,
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     which he realized was blood. Bunn then walked to the bedroom, where he found Mr.

     Davis lying unconscious on the floor and called 911. Barber arrived shortly thereafter

     and also called 911. Paramedics arrived at the mobile home and declared Mr. Davis

     dead. According to expert testimony, the cause of Mr. Davis’s death was multiple

     stab wounds. No evidence of forced entry into the mobile home was found. The time

     of Mr. Davis’s death could not be determined with accuracy and a murder weapon

     was never identified.

¶5         Officers who responded to the 911 calls identified a list of possible suspects,

     including Defendant. Defendant lived in Rowan County and worked at Terry’s Auto

     Sales with Mr. Davis. Due to a crack cocaine substance abuse problem, Defendant

     frequently borrowed small amounts of cash from various people in the community,

     including Mr. Davis, and failed to pay them back.

¶6         After the investigation at Mr. Davis’s mobile home concluded, some officers

     went to locate the other possible suspects. Contemporaneously, other officers went

     by Defendant’s house, located in China Grove, “to kind of get a feel of where [he] lived

     at.” As the officers were leaving the area, they saw Defendant “pull in, driving.” The

     officers knew Defendant previously had his driver’s license revoked and contacted the

     Rowan County Sheriff’s Office to advise them Defendant was driving without a

     license. The Rowan County Sherriff’s Office took out a warrant for Defendant for

     driving while license revoked, but service of the warrant was held off.
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¶7         That same day, officers returned to Defendant’s house. Defendant and his

     girlfriend, Carol Carlson, who Defendant lived with, came outside the house to speak

     with the officers. Defendant and Carlson agreed to let the officers search their house.

     As a result of the search, an officer seized two shirts and a pair of blue jeans located

     in the back bedroom of Defendant’s house. According to the officer, these items were

     seized “[b]ecause they had blood stains or what appeared to be blood stains on the

     shirts and on the back of the blue jeans.” Blood DNA tests were done comparing the

     blood stains on the clothing seized from Defendant’s house and the blood at the scene

     of the crime with Defendant’s blood and Mr. Davis’s blood.          Forensic biologists

     testified there was no connection between Defendant’s DNA profile and the scene of

     the crime, and no connection between the blood stains on Defendant’s clothes and Mr.

     Davis’s DNA profile.

¶8         After the officers finished searching the house, Defendant agreed to go to the

     Kannapolis police department to talk about Mr. Davis’s death. As they were leaving,

     Carlson asked Defendant for money because she was hungry, and Defendant gave

     her $20.00 from cash that he had in his pocket at the time.

¶9         Defendant’s interview at the police department was video recorded and played

     for the jury. When asked about his whereabouts on the evening of 9 May 2016,

     Defendant stated he returned home at about 8:00 or 9:00 p.m. and did not leave his

     house for the remainder of the evening. Later during the interview, Defendant
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       changed his story and stated that on 9 May 2016, he purchased “a dime” of crack

       cocaine, brought it back to Terry’s Auto Sales, and smoked it before he did more work

       and later went home. He also stated he tried to call Mr. Davis two or three times to

       borrow $20.00 at about 10:00 p.m., but Mr. Davis never picked up the phone.

       Defendant told the officers that occasionally, Mr. Davis tells him he isn’t going to loan

       him any more money, but Mr. Davis recently loaned him $20.00 on the previous

       Sunday.

¶ 10         Defendant gave the interviewing officers permission to inspect his cell phone

       in an attempt to corroborate his story. Officers attempted to retrieve data from

       Defendant’s cell phone using a Cellebrite forensic device, but due to the age of the

       phone, the data could not be retrieved. Instead, the officers manually searched the

       cell phone’s contents. The manual search revealed the only calls in the cell phone’s

       call history were those made after Defendant had been in the presence of the officers,

       and the only text message history was one text message received from Carlson on 10

       May 2016.

¶ 11         The State also presented location records of Defendant’s cell phone on the night

       of 9 May 2016. According to expert testimony from Special Agent Michael Sutton,

       Defendant’s cell phone records were assessed to determine which cell towers and

       sectors were utilized by his phone in order to map its location. Because “[m]ost towers

       are sectorized to increase the number of customers it can serve[,]” cell phone carriers
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       put “three towers on one pole, pointing in different directions.” Special Agent Sutton

       looked at “the topography of the area, the layout of the area, as well as associating

       the other towers to come up with an estimated service area of [a] particular tower,”

       and determined the general area and sector of where Defendant’s phone was when it

       was being used.

¶ 12         The cell tower records showed Defendant made calls at 9:46 p.m., 10:21 p.m.,

       10:22 p.m., and 10:23 p.m. on 9 May 2016 from a sector that included his residence

       in China Grove. The cell tower records also showed Defendant made calls at 11:22

       p.m., 11:30 p.m., 11:31 p.m., and 11:32 p.m. on 9 May 2016 from a sector that included

       both Mr. Davis’s mobile home and Terry’s Auto Sales. On 10 May 2016, the cell tower

       records showed Defendant made calls at 12:00 a.m., 12:11 a.m., and 12:12 a.m. from

       a sector that included the home of Defendant’s drug dealer. Also, on 10 May 2016,

       Defendant again made calls between 12:49 a.m. and 1:29 a.m. from the sector that

       included his residence in China Grove.

¶ 13         Officers asked Defendant where he obtained the money he gave to Carlson

       prior to the interview. He stated he had $300.00 or $400.00 from a customer whose

       car he put a transmission in, but it was Bunn’s money since Bunn gave him an

       advance on the money Defendant was to receive for the transmission work.

¶ 14         After the interview concluded, Defendant went outside the Kannapolis Police

       Department and waited to be transported back to his house.            While waiting,
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       Defendant was arrested on the outstanding warrant for driving while license revoked.

       Defendant was transported to jail where he declined to be interviewed a second time.

¶ 15         While in jail, Defendant made a telephone call to Carlson on a monitored phone

       line. The audio recording of this phone call was played for the jury. While on the

       phone, Defendant instructed Carlson to look in a trash can for a stack of

       approximately $3,000.00 in cash, inside a work glove, which was in turn inside a

       McDonald’s bag, and instructed her to use the cash to pay his bail. Carlson located

       the money and used $1,000.00 of it for Defendant’s bail money. Officers recovered

       the remainder of the money, $1,724.00, from a wallet in Carlson’s purse. The majority

       of the cash was in one-hundred-dollar bills. Officers were later able to recover the

       McDonald’s bag and the empty work glove inside of it from a garbage can across the

       street from Defendant’s house, at Carlson’s mother’s house.

¶ 16         At the close of the State’s evidence, Defendant made a motion to dismiss all

       charges “for failure to provide evidence as to each element of each crime[.]” The trial

       court denied the motion to dismiss. At the close of all evidence, Defendant renewed

       the motion to dismiss all charges, citing “insufficiency of the evidence” as the basis

       for the motion. The trial court denied the renewed motion.

¶ 17         During closing arguments, the State argued to the jury:

                    Admittedly, we don’t have DNA in this case. We don’t.
                    There’s always going to be something you can look at in a
                    crime scene investigation and say it wasn’t done. Short of
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                    us literally picking up the entire trailer and moving [it to]
                    a warehouse and going through it with microscopes, there’s
                    always going to be something you can point out that wasn’t
                    done. We do the reasonable things, the things that lead to
                    evidence that we believe might produce evidence. One way
                    or the other, we’re going to run down your alibi, just like
                    we run down allegations against you, and that was done in
                    this case, time and time again. The problem is, every time
                    they went to check on something that [Defendant] had told
                    them, it was a lie. And everybody else was telling the
                    truth. Everything checked out. But nothing he had to say
                    checked out, and he’s telling you ridiculous things.
                    Ridiculous.

                    You need a reasonable explanation for that money. If you
                    don’t have a reasonable explanation for where that money
                    came from --

       Defendant then objected and the trial court sustained the objection; however, the trial

       court did not give a curative instruction. After the conclusion of the State’s closing

       argument, Defendant moved for a mistrial based on the lack of a curative instruction.

       The trial court denied the motion.

¶ 18         The jury found Defendant guilty of felony murder, based on the underlying

       felony of robbery with a dangerous weapon, and first-degree murder on the basis of

       malice, premeditation, and deliberation. The jury also found Defendant guilty of

       robbery with a dangerous weapon.        The trial court sentenced Defendant to life

       without parole on the first-degree murder conviction and arrested judgment on the

       robbery with a dangerous weapon conviction. Defendant timely appealed.

                                             ANALYSIS
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¶ 19         On appeal, Defendant argues the trial court erred by (A) denying his motion to

       dismiss all the charges for insufficiency of the evidence, and (B) denying his motion

       for a mistrial when the trial court failed to give a curative instruction during the

       prosecutor’s improper closing statement. We agree with Defendant that the trial

       court erred by denying his motion to dismiss all the charges and vacate his

       convictions.

                                       A. Motion to Dismiss

¶ 20         “This Court reviews the trial court’s denial of a motion to dismiss de novo.”

       State v. Smith, 186 N.C. App. 57, 62, 650 S.E.2d 29, 33 (2007). “When reviewing a

       defendant’s motion to dismiss for insufficient evidence, [we] must inquire whether

       there is substantial evidence of each essential element of the crime and that the

       defendant is the perpetrator.” State v. Campbell, 373 N.C. 216, 220, 835 S.E.2d 844,

       848 (2019) (marks omitted). “Substantial evidence is such relevant evidence as a

       reasonable mind might accept as adequate to support a conclusion.” Smith, 186 N.C.

       App. at 62, 650 S.E.2d at 33.

¶ 21         However, “[i]f the evidence is sufficient only to raise a suspicion or conjecture

       as to either the commission of the offense or the identity of the defendant as the

       perpetrator of it, the motion [to dismiss] should be allowed.” State v. Powell, 299 N.C.

       95, 98, 261 S.E.2d 114, 117 (1980). This is true even if “the suspicion so aroused by

       the evidence is strong.” Id. “In making its determination, the trial court must
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       consider all evidence admitted, whether competent or incompetent, in the light most

       favorable to the State, giving the State the benefit of every reasonable inference and

       resolving any contradictions in its favor.” State v. Rose, 339 N.C. 172, 192, 451 S.E.2d

       211, 223 (1994), cert. denied, 515 U.S. 1135, 132 L. Ed. 2d 818 (1995).

¶ 22         We begin by noting the evidence we rely on to analyze the murder charges is

       the same evidence we rely on to analyze the robbery with a dangerous weapon charge.

       As such, we discuss the sufficiency of the evidence presented for the first-degree

       murder charge, the felony murder charge, and the robbery with a dangerous weapon

       charge together. We hold the evidence, even when viewed in the light most favorable

       to the State, was insufficient to go to the jury.

¶ 23         Defendant argues “[t]he State failed to present any evidence that [Defendant]

       entered the trailer of [Mr. Davis] and committed murder” and “[t]he State failed to

       present any evidence connecting [the $3,000.00 in cash] with [the victim].”

¶ 24         The State contends there was evidence presented that “a reasonable mind

       might accept as adequate to support [the] conclusion” that Defendant murdered and

       robbed Mr. Davis. Smith, 186 N.C. App. at 62, 650 S.E.2d at 33. The evidence

       favorable to the State included: Defendant lied to the police and changed his story as

       to his whereabouts on the night of the murder; cell tower records placed Defendant
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       in the same vicinity as Mr. Davis’s mobile home on the night of the murder;1

       Defendant deleted his cellphone call and text messaging history; there was no forced

       entry in Mr. Davis’s mobile home, suggesting he knew the perpetrator; the fact that

       Defendant was in possession of $3,000.00 in cash with no explanation of where it

       came from; Mr. Davis’s wallet and any cash he may have had were missing from his

       mobile home; Bunn’s testimony that Mr. Davis usually “carried a lot of cash on him”

       and kept cash in his wallet; Mr. Davis planned to meet his daughter the morning

       after the murder to bring her money; Defendant’s continued asking to borrow money

       from Mr. Davis; and Mr. Davis told Defendant a few days before his death he refused

       to loan Defendant any more money. The State’s evidence in this case establishes Mr.

       Davis was murdered, and “[i]t shows that [Defendant] had the opportunity to commit

       it and begets suspicion in imaginative minds.               All the evidence engenders the

       question, if [D]efendant didn’t kill [the victim], who did? To raise such a question,

       however, will not suffice to sustain a conviction.” State v. Jones, 280 N.C. 60, 66, 184

       S.E.2d 862, 866 (1971) (marks and citations omitted).

¶ 25          The State urges we can infer Defendant’s motive for murdering Mr. Davis was

       because Mr. Davis “has been known to carry around large amounts of cash” and




              1 We note that while the State’s evidence shows that Defendant may have been in the

       general vicinity of the victim’s mobile home, this general vicinity also overlaps with Terry’s
       Auto Sales, Defendant’s employer, and a location where Defendant is often present.
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       Defendant was in possession of a large amount of cash immediately after the murder.

       In light of Mr. Davis’s scheduled meeting with his daughter on 10 May 2016 where

       he planned to give her money, the jury could reasonably infer Mr. Davis had cash in

       his mobile home. However, it is too speculative to assume Mr. Davis had thousands

       of dollars’ worth of one-hundred-dollar bills when there is nothing in the Record to

       support this assumption, especially considering the Record contains no indication

       that Mr. Davis ever loaned anyone more than $20.00 or $50.00. Assuming Mr. Davis

       possessed a large amount of cash at the time of his murder, the State failed to present

       sufficient evidence that Defendant was the one who took and carried away the cash

       from the victim. Rather, the evidence simply established that Defendant had an

       opportunity to steal the money at issue. “Under well-settled caselaw, evidence of a

       defendant’s mere opportunity to commit a crime is not sufficient to send the charge

       to the jury.” Campbell, 373 N.C. at 221, 835 S.E.2d at 848.

¶ 26         State v. White illustrates the principle that a conviction cannot be sustained if

       the most the State has shown is the defendant was in an area where he could have

       committed the crime. State v. White, 293 N.C. 91, 235 S.E.2d 55 (1977). In White,

       the defendant was charged with second-degree murder after a woman was found

       stabbed to death in her mobile home located outside of a motel where the defendant

       was staying at the time. Id. at 96-97, 235 S.E.2d at 59. There was testimony that a

       motel employee heard a woman scream and then saw a man run out of the victim’s
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       mobile home and head in the direction of the defendant’s motel room. Id. at 92, 235

       S.E.2d at 56. Officers found traces of blood on the defendant’s shoes and shirt, but

       the DNA analysis failed to match the blood to the victim. Id. at 96, 235 S.E.2d at 59.

       Our Supreme Court held that, although “the evidence raises a strong suspicion as to

       [the] defendant’s guilt[,]” it was “not sufficient to remove the case from the realm of

       surmise and conjecture.”     Id. at 95, 235 S.E.2d at 58.       Our Supreme Court

       acknowledged the State’s evidence established that the defendant was in the general

       vicinity of the victim’s residence at the time of the murder, the defendant gave

       contradictory statements to law enforcement officers, and it could “even reasonably

       be inferred that the defendant was at the home of the deceased when the deceased

       came to her death, or shortly thereafter.” Id. at 97, 235 S.E.2d at 59. Nevertheless,

       our Supreme Court reversed the defendant’s conviction. Id.
¶ 27         Here, the State offered evidence that the victim “has been known to carry

       around large amounts of cash”; the victim planned to bring money to his daughter on

       the morning he was found murdered, although it is unknown how much money;

       Defendant was a crack cocaine addict who frequently borrowed small amounts of

       money from various people in the community, including the victim; Defendant was in

       possession of approximately $3,000.00 in cash after the murder and concealed that

       cash outside his girlfriend’s mother’s house; Defendant was in the vicinity of the

       victim’s residence for a period of time on the night of the murder; Defendant changed
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       his story and gave contradictory statements to law enforcement officers; and

       Defendant deleted all call and text message history from his cellphone except for the

       calls and text messages from the morning the victim was discovered murdered. This

       evidence may be fairly characterized as raising a suspicion of Defendant’s guilt, but

       crucial gaps existed in the State’s evidence. The State failed to link Defendant to the

       stolen cash or prove that the $3,000.00 worth of one-hundred-dollar bills Defendant

       hid in the McDonald’s bag in the trash can was cash stolen from the victim’s mobile

       home. “The full summary of the incriminating facts, taken in the strongest view of

       them adverse to [Defendant], excite[s] suspicion in the just mind that he is guilty, but

       such view is far from excluding the rational conclusion that some other unknown

       person may be the guilty party.” Jones, 280 N.C. at 66, 184 S.E.2d at 866 (marks

       omitted).

¶ 28         “The State has shown that [] [D]efendant was in the general vicinity of the

       deceased’s home at the time of the murder and that he made several arguably

       contradictory statements during the course of the police investigation.” White, 293

       N.C. at 97, 235 S.E.2d at 59. However, “the State has [only] established that []

       [D]efendant had an opportunity to commit the crime charged.” Id. To infer anything

       “[b]eyond that we must sail in a sea of conjecture and surmise. This we are not

       permitted to do.” Id. There was no evidence beyond mere speculation that Defendant

       was at the scene of the crime, had a motive to commit these crimes, or that Defendant
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       actually committed the crimes.         Although “[t]he circumstances raise a strong

       suspicion of [D]efendant’s guilt, . . . we are obliged to hold that the State failed to offer

       substantial evidence that [D]efendant was the one who [stabbed the victim].” Jones,

       280 N.C. at 67, 184 S.E.2d at 866.          There is insufficient evidence to establish

       Defendant was the perpetrator of the murder and the robbery.

¶ 29          “We believe the evidence raises a strong suspicion as to [D]efendant’s guilt, but

       that is not sufficient to remove the case from the realm of surmise and conjecture.”

       White, 293 N.C. at 95, 235 S.E.2d at 58. We find the Record is insufficient to show

       more than a suspicion that Defendant murdered Mr. Davis and robbed him with a

       dangerous weapon.        “Because there was insufficient evidence to support the

       commission of the underlying felony, there is also insufficient evidence to support

       [D]efendant’s conviction of felony murder.” State v. Bates, 309 N.C. 528, 535, 308

       S.E.2d 258, 263 (1983). The trial court erred in denying Defendant’s motion to

       dismiss all charges and we reverse the trial court’s ruling on the motion to dismiss

       and vacate his convictions.

                                       B. Motion for a Mistrial

¶ 30          Defendant also argues “the [trial] court erred by failing to promptly cure the

       prosecutor’s improper [closing] argument which shifted the burden of proof to []

       Defendant” and the trial court should have granted his motion for a mistrial. Our

       holding in Part A–that the trial court erred in denying Defendant’s motion to dismiss
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       all charges–renders Defendant’s second argument, regarding his motion for a

       mistrial, moot. See State v. Angram, 270 N.C. App. 82, 88, 839 S.E.2d 865, 869 (2020)

       (“Because we must reverse the judgment, we need not address [the] defendant’s other

       issue on appeal.”). As we agree with Defendant’s first argument, we must reverse the

       trial court’s ruling on the motion to dismiss all charges, as well as vacate Defendant’s

       judgments, and we need not address Defendant’s other issue on appeal.

                                          CONCLUSION

¶ 31         The State failed to present substantial evidence that Defendant was the

       perpetrator of any of the crimes he was tried upon. The trial court erred in denying

       Defendant’s motion to dismiss all charges.          We reverse its ruling and vacate

       Defendant’s convictions.

             REVERSED.

             Judge DILLON concurs.

             Judge ARROWOOD dissents with separate opinion.
        No. COA20-362 – State v. Dover


             ARROWOOD, Judge, dissenting.


¶ 32         I respectfully dissent from the majority’s holding that the trial court erred in

       denying defendant’s motion to dismiss for insufficient evidence.        Although the

       majority’s holding does not reach defendant’s motion for a mistrial, I also would hold

       that the trial court properly denied defendant’s motion. I would affirm the trial

       court’s order and uphold defendant’s convictions.

                         I.    Motion to Dismiss for Insufficient Evidence

¶ 33         In ruling on a motion to dismiss, “the trial court need determine only whether

       there is substantial evidence of each essential element of the crime and that the

       defendant is the perpetrator.” State v. Winkler, 368 N.C. 572, 574, 780 S.E.2d 824,

       826 (2015) (internal quotation marks and citation omitted). Substantial evidence is

       defined by the North Carolina Supreme Court as “evidence which a reasonable mind

       could accept as adequate to support a conclusion.” State v. Lee, 348 N.C. 474, 488,

       501 S.E.2d 334, 343 (1998) (citing State v. Vick, 341 N.C. 569, 583-84, 461 S.E.2d 655,

       663 (1995)). In reviewing the trial court’s decision on appeal, the evidence must be

       viewed “in the light most favorable to the State, giving the State the benefit of all

       reasonable inferences.” State v. Barnes, 334 N.C. 67, 75, 430 S.E.2d 914, 918 (1993)

       (citation omitted).

¶ 34         In order to be submitted to the jury for determination of defendant’s guilt, the

       evidence “need only give rise to a reasonable inference of guilt.” State v. Turnage,

       362 N.C. 491, 494, 666 S.E.2d 753, 755 (2008) (citing State v. Stone, 323 N.C. 447,
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                                       ARROWOOD, J., dissenting.



       452, 373 S.E.2d 430, 433 (1988)). This is true regardless of whether the evidence is

       direct or circumstantial. State v. Trull, 349 N.C. 428, 447, 509 S.E.2d 178, 191 (1998).

       If the court decides that a reasonable inference of the defendant’s guilt may be drawn

       from the circumstances, then “it is for the jury to decide whether the facts, taken

       singly or in combination, satisfy them beyond a reasonable doubt that the defendant

       is actually guilty.” State v. Thomas, 296 N.C. 236, 244, 250 S.E.2d 204, 209 (1978)

       (citation and emphasis omitted).

¶ 35          In considering circumstantial evidence, a jury may properly make inferences

       on inferences in determining the facts constituting the elements of the crime. State

       v. Childress, 321 N.C. 226, 232, 362 S.E.2d 263, 267 (1987). Making inferences which

       naturally arise from a fact proven by circumstantial evidence “is the way people often

       reason in everyday life.” Id.
¶ 36          When ruling on a motion to dismiss, the only question for the trial court is

       whether “the evidence is sufficient to get the case to the jury; it should not be

       concerned with the weight of the evidence.” State v. Earnhardt, 307 N.C. 62, 67, 296

       S.E.2d 649, 652 (1982) (citing State v. McNeil, 280 N.C. 159, 162, 185 S.E.2d 156, 157
       (1971)). If the evidence is sufficient only to raise a suspicion or conjecture as to either

       the commission of the offense or the identity of the defendant as the perpetrator, the

       motion to dismiss must be allowed. State v. Malloy, 309 N.C. 176, 179, 305 S.E.2d

       718, 720 (1983) (citing State v. Poole, 285 N.C. 108, 203 S.E.2d 786 (1974)).
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                                       ARROWOOD, J., dissenting.



¶ 37         The majority accurately summarizes the evidence presented in this case, but I

       disagree with the majority’s resulting analysis. In summarizing the evidence, the

       majority appears to engage in a determination of whether the facts, taken singly or

       in combination, were satisfactory beyond a reasonable doubt that defendant is

       actually guilty.   With respect to defendant’s motion to dismiss for insufficient

       evidence, the only question we must answer is whether there was evidence that gives

       rise to a reasonable inference of guilt.

¶ 38         The State presented evidence that the victim carried large amounts of cash on

       his person, he was due to bring money to his daughter on the morning he was found

       dead, and that a police search of his residence immediately after his murder revealed

       no cash or billfold. The State also presented evidence that defendant was a long-term

       crack cocaine user that frequently borrowed small amounts of cash from friends, his

       employer, and others, including the victim, and was in possession of nearly $3,000 in

       cash immediately after the victim’s murder.         Regarding this money, the State

       presented evidence that the cash was hidden in a glove, inside a McDonald’s bag,

       inside his girlfriend’s mother’s outdoor trashcan, across the street from where

       defendant was staying, and that defendant had not been in possession of that money

       on several occasions prior to the victim’s murder.          Finally, the State presented

       evidence from defendant’s cell phone records that defendant was in the vicinity of the

       victim’s residence and another acquaintance’s residence on the night he told police he
                                           STATE V. DOVER

                                           2021-NCCOA-405

                                       ARROWOOD, J., dissenting.



       had stayed at home, and that defendant had deleted all call and text histories apart

       from very recent calls and a text message from the morning the victim’s body was

       discovered.

¶ 39         In this case, I would hold that the evidence of defendant’s location, his

       possession of a large amount of cash, his history with the victim, and defendant’s

       apparent concealment of evidence was sufficient to raise a reasonable inference that

       defendant was guilty of armed robbery and first-degree murder.           Accordingly, I

       believe the case was properly submitted to the jury.

                                     II.   Motion for a Mistrial

¶ 40         “We review the trial court’s denial of [d]efendant’s motion for a mistrial for

       abuse of discretion.” State v. Sistler, 218 N.C. App. 60, 70, 720 S.E.2d 809, 816 (2012).

       “Abuse of discretion results where the court’s ruling is manifestly unsupported by

       reason or is so arbitrary that it could not have been the result of a reasoned decision.”

       State v. Hennis, 323 N.C. 279, 285, 372 S.E.2d 523, 527 (1988). “In our review, we

       consider not whether we might disagree with the trial court, but whether the trial

       court’s actions are fairly supported by the record.” State v. Lasiter, 361 N.C. 299, 302,

       643 S.E.2d 909, 911 (2007).

¶ 41         “Where, immediately upon a defendant’s objection to an improper remark

       made by the prosecutor in his closing argument, the trial court instructs the jury to

       disregard the offending statement, the impropriety is cured.” State v. Woods, 307
                                          STATE V. DOVER

                                            2021-NCCOA-405

                                      ARROWOOD, J., dissenting.



       N.C. 213, 222, 297 S.E.2d 574, 579 (1982). However, if a defendant fails to object to

       a prosecutor’s closing argument at trial, this Court “must consider whether the

       argument was so grossly improper that the trial court erred by failing to intervene ex

       mero motu.” State v. Rogers, 355 N.C. 420, 452, 562 S.E.2d 859, 879 (2002). The

       defendant’s failure to meet the State’s evidence is properly the subject of a

       prosecutor’s closing argument. Id.
¶ 42         In this case, the State’s closing argument addressed facts supported by

       competent evidence and suggested inferences based on those facts. The State argued,

       without objection, that “every time they went to check on something that the

       defendant had told them, it was a lie,” and that none of defendant’s accounts to police

       were verified. The State continued as follows:

                    You need a reasonable explanation for that money. If you
                    don’t have a reasonable explanation for where that money
                    came from –

                    MR. HOFFMAN: Your Honor, I’m going to object.

                    THE COURT: Hold on one second. Approach.

                    (Counsel approached the bench.)

                    THE COURT: Sustained.

                    [STATE]: If you can’t in your own mind, reasonably resolve
                    where that money came from, he’s guilty, period. In his
                    world, there was no other place it could have come from.
                                  STATE V. DOVER

                                  2021-NCCOA-405

                              ARROWOOD, J., dissenting.



Although defendant objected to the State’s original phrasing, defendant failed to

object to the following statement and now argues that the trial court should have

issued a curative instruction, rather than simply sustaining the objection. Defendant

additionally cites several cases to support the proposition that a jury charge cannot

cure an error in closing argument and that a curative instruction must be prompt or

immediate.   I find this case distinguishable from those cited by defendant, as

defendant did not object to the rephrased argument. Defendant has failed to show

that the State’s closing argument was so grossly improper that the trial court had a

duty to intervene ex mero motu.     Accordingly, I would hold that the trial court

properly denied defendant’s motion for a mistrial.
